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   6   Attorneys for Plaintiff JAVIER QUIROZ and the proposed class

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   9                            IN THE UNITED STATES DISTRICT COURT
  10                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

  11
       JAVIER QUIROZ,                                             Case No. 2:16-cv-04779-JFW (Ex)
  12
                              Plaintiff,                          CLASS ACTION
  13
               vs.                                                STIPULATION CONTINUING HEARING
  14                                                              AND SETTING BRIEFING SCHEDULE
       CAVALRY SPV I, LLC,                                        ON CAVALRY SPV I, LLC’s MOTION
  15                                                              TO COMPEL ARBITRATION
                              Defendant.
  16                                                              Date: November 21, 2016
                                                                  Time: 1:30 p.m.
  17                                                              Courtroom 16
       ____________________________________/                      Hon. John F. Walter
  18

  19           COMES NOW THE PARTIES TO THE ABOVE-REFERENCED ACTION AND

  20   RECITE AND STIPULATE AS FOLLOWS:

  21           WHEREAS, on October 20, 2016, Defendant CAVALRY SPV I, LLC filed a Motion to

  22   Motion to Compel Arbitration (the “Motion”), with Plaintiff’s opposition due by October 31,

  23   2016, Defendant’s reply due by November 7, 2016, and a hearing scheduled for November 21,

  24   2016;

  25           WHEREAS, the parties have agreed to continue the hearing and corresponding

  26   opposition and reply deadlines so that the parties may have sufficient time to fully brief the

  27   Motion;

  28           WHEREAS, the parties have not previously requested that the Court continue any dates
                                                              1
                                             Stipulation Setting Briefing Schedule
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   1   or deadlines with respect to the Motion;

   2           WHEREAS, the Court previously set the following dates and deadlines:

   3                          Discovery cut-off: May 1, 2017

   4                          Pre-trial conference: June 16, 2017

   5                          Trial: June 27, 2017

   6           NOW THEREFORE THE PARTIES STIPULATE:

   7           1.      Plaintiffs’ opposition to the Motion shall be filed and served not later than

   8                   November 15, 2016.

   9           2.      Defendant’s reply in support of the Motion shall be filed and served not later than
  10                   December 5, 2016.

  11           3.      The hearing on the Motion shall be set for December 19, 2016 at 1:30 p.m. in

  12                   Courtroom 16.

  13   Dated: October 25, 2016                            KEMNITZER, BARRON & KRIEG, LLP
  14
                                               By:        /s/ Bryan Kemnitzer
  15                                                      BRYAN KEMNITZER
                                                          KEMNITZER, BARRON & KRIEG, LLP
  16                                                      Attorneys for Plaintiff JAVIER QUIROZ and the
                                                          proposed class
  17
       Dated: October 25, 2016                            SEVERSON & WERSON, A PC
  18

  19                                           By:        /s/ Tomio B. Narita
                                                          TOMIO B. NARITA
  20                                                      SIMMONDS & NARITA LLP
                                                          Attorneys for Defendant CAVALRY SPV I, LLC
  21

  22                                   ATTESTATION OF SIGNATURE

  23           I, Bryan Kemnitzer, am the ECF User whose ID and Password were used to

  24   electronically file this Stipulation. Pursuant to Central District of California Local Rule 5-

  25   4.3.4(a)(2), I hereby attest that all other signatories listed, and on whose behalf this filing is

  26   submitted, concur in the content of this filing and have authorized the electronic filing thereof.
  27                                                      /s/ Bryan Kemnitzer
                                                          BRYAN KEMNITZER
  28
                                                               2
                                              Stipulation Setting Briefing Schedule
